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13
14                          UNITED STATES DISTRICT COURT

15                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
16
     ADAM BRANDY, an individual, et al.,                  Case No. 2:20-cv-2874
17
18                         Plaintiffs,                    PLAINTIFFS’ NOTICE OF VOLUNTARY
                                                          DISMISSAL OF DEFENDANTS ERIC
19         vs.                                            GARCETTI AND THE CITY OF LOS
20                                                        ANGELES, CALIFORNIA
21   ALEX VILLANUEVA, in his official                     [FRCP 41(a)(1)(A)(i)]
22   capacity as Sheriff of Los Angeles
     County, California, and in his capacity as
23   the Director of Emergency Operations, et
24   al.,
25                          Defendants.
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            NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANTS ERIC GARCETTI AND THE CITY OF LOS ANGELES
                                              CASE NO. 2:20-cv-2874
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 1         NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANTS
       ERIC GARCETTI AND THE CITY OF LOS ANGELES, CALIFORNIA
 2
 3         PLEASE TAKE NOTICE that pursuant to Rule 41(a)(1)(A)(i) of the Federal
 4   Rules of Civil Procedure, Plaintiffs Adam Brandy, Jonah Martinez, Daemion
 5   Garro, DG2A Enterprises Inc., d.b.a. Gun World, Jason Montes, Weyland-Yutani
 6   LLC d.b.a. Match Grade Gunsmiths, Alan Kushner, The Target Range, Tom Watt,
 7   A Place To Shoot, Second Amendment Foundation, California Gun Rights
 8   Foundation, National Rifle Association of America, and Firearms Policy Coalition,
 9   Inc. (“Plaintiffs”) hereby file this Notice of Voluntary Dismissal, without
10   prejudice, as to Defendant Eric Garcetti, sued in his official capacity as Mayor of
11   the City of Los Angeles, California; and as to Defendant City of Los Angeles,
12   California.
13
14    Dated: July 8, 2020                           SEILER EPSTEIN LLP
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16                                                  /s/ George Lee
                                                    George M. Lee
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18                                                  Attorney for Plaintiffs

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            NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANTS ERIC GARCETTI AND THE CITY OF LOS ANGELES
                                              CASE NO. 2:20-cv-2874
